                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 JANE DOE 2,                      )
                                  )
                  Plaintiff,      )                   Civil Action No. 3: 2023-cv-00582
                                  )
            v.                    )
                                  )
 JIMMIE ALLEN, AADYN’S DAD )                          JUDGE ALETA A. TRAUGER
 TOURING, INC., CHARLES HURD, and )
 JOHN DOES 1-100,                 )
                                  )
                                  )
                  Defendants.     )
                                  )


          PLAINTIFF’S MOTION FOR SANCTIONS AND JUDGMENT
   AGAINST DEFENDANTS JIMMIE ALLEN AND AADYN’S DAD TOURING, INC.

       Pursuant to Federal Rules of Civil Procedure 16(f) and 37(b), and this Court’s inherent

discretion, Plaintiff respectfully requests that this Court enter judgment against Defendants Jimmie

Allen and Aadyn’s Dad Touring, Inc. While Plaintiff recognizes that judgment against Defendants

is a drastic sanction, it is warranted here where: (i) Defendants have not complied with multiple

Court Orders, issuing a litany of excuses but failing to seek relief from the Court and thus evincing

bad faith; (ii) Plaintiff has been prejudiced, which is multiplied given the parties are just 30 days

until trial; (iii) Defendants have been on notice of risk of judgment both through this Court’s prior

orders and Plaintiff’s multiple motions seeking court intervention; and (iv) a less drastic sanction

is not likely to compel compliance, given that this Court has already dismissed Defendant Allen’s




  Case 3:23-cv-00582         Document 81        Filed 05/27/25      Page 1 of 3 PageID #: 567
counterclaim when he failed to produce his cellphone and Defendants have ignored this Court’s

Orders to replace counsel and pay costs.

       WHEREFORE, for the reasons more fully set forth in the accompanying memorandum and

declaration, Plaintiff Jane Doe respectfully requests that this Court grant her motion for sanctions,

enter judgment against Jimmie Allen and Aadyn’s Dad Touring, Inc., and set a deadline for

Plaintiff to submit her proof of damages. Plaintiff also respectfully requests that this Court, in the

interim, suspend the trial date and impending pre-trial deadlines.

Dated: May 27, 2025


                                                    Counsel for Plaintiff:

                                                    /s/ Elizabeth A. Fegan
                                                    Elizabeth A. Fegan (admitted pro hac vice)
                                                    FEGAN SCOTT LLC
                                                    150 S. Wacker Drive, 24th Floor
                                                    Chicago, IL 60606
                                                    (312) 264-0100
                                                    beth@feganscott.com

                                                    John T. Spragens (BPR # 31445)
                                                    SPRAGENS LAW PLC
                                                    311 22nd Ave. N.
                                                    Nashville, TN 37203
                                                    (615) 983-8900
                                                    john@spragenslaw.com




                                                 2
  Case 3:23-cv-00582         Document 81        Filed 05/27/25       Page 2 of 3 PageID #: 568
                                    CERTIFICATE OF SERVICE

       I, Elizabeth A. Fegan, an attorney, caused the foregoing to be filed on May 27, 2025 via

the Court’s electronic filing system which will serve all counsel of record, including:

                             Alandis K. Brassel (BPR # 34159)
                                      BRASSEL LAW PLLC
                            1033 Demonbreun Street, Suite 300
                                      Nashville, TN 37203
                                         (615) 258-8900
                                      alandis@brassel.law

                            Robert Housman (admitted pro hac vice)
                                      9001 Clifford Ave
                                   Chevy Chase, MD 20815
                                       (202) 486-5874
                               rhousman@bookhillpartners.com

                            Counsel for Defendants Jimmie Allen and
                                  Aadyn’s Dad Touring, Inc.


                                                               By: /s/ Elizabeth A. Fegan




                                                3
  Case 3:23-cv-00582        Document 81        Filed 05/27/25      Page 3 of 3 PageID #: 569
